          Case 1:21-cr-00718-JGK Document 1 Filed 07/01/21 Page 1 of 8
                                                 21 MAG 6663
Approved: /s/ Daniel M. Tracer
          DANIEL M. TRACER
          Assistant United States Attorney

Before:      HONORABLE DEBRA FREEMAN
             United States Magistrate Judge
             Southern District of New York

- - - - - - - - - - - - - - - - -          x
                                           :   SEALED COMPLAINT
UNITED STATES OF AMERICA                   :
                                           :   Violations of
                  - v. -                   :   15 U.S.C. §§ 78j(b) &
                                           :   78ff; 17 C.F.R. §
SEAN WYGOVSKY,                             :   240.10b-5; 18 U.S.C. §§
                                           :   1343 & 2.
                    Defendant.             :
                                           :   COUNTY OF OFFENSE:
                                               New York
- - - - - - - - - - - - - - - - -          x

SOUTHERN DISTRICT OF NEW YORK, ss.:

          THOMAS McDONALD, being duly sworn, deposes and says
that he is a Special Agent with the Federal Bureau of
Investigation (“FBI”) and charges as follows:

                                  COUNT ONE
                             (Securities Fraud)

     1.   From at least in or about January 2015 through at least
in or about April 2021, in the Southern District of New York and
elsewhere, SEAN WYGOVSKY, the defendant, willfully and knowingly,
directly and indirectly, by use of the means and instrumentalities
of interstate commerce, the mails and the facilities of national
securities exchanges, used and employed manipulative and deceptive
devices and contrivances in connection with the purchase and sale
of securities, in violation of Title 17, Code of Federal
Regulations, Section 240.10b-5, by: (a)employing devices, schemes
and artifices to defraud; (b) making untrue statements of material
facts and omitting to state material facts necessary in order to
make the statements made, in light of the circumstances under which
they were made, not misleading; and (c) engaging in acts, practices
and courses of business which operated and would operate as a fraud
and   deceit   upon   persons,  to   wit,   WYGOVSKY   fraudulently
misappropriated confidential information from his employer, a
Canadian asset management firm (the “Employer Firm”), about the
       Case 1:21-cr-00718-JGK Document 1 Filed 07/01/21 Page 2 of 8



Employer Firm’s confidential securities trade orders and trading
activity, and used that information for his own profit by directly
and indirectly placing timely, profitable securities trades based
on that information in accounts controlled or directed by WYGOVSKY,
including in accounts held by his close relatives.

(Title 15, United States Code, Sections 78j(b) & 78ff; Title 17,
Code of Federal Regulations, Section 240.10b-5; Title 18, United
                    States Code, Section 2.)

                               COUNT TWO
                              (Wire Fraud)

     2.   From at least in or about January 2015 through at least
in or about April 2021, in the Southern District of New York and
elsewhere, SEAN WYGOVSKY, the defendant, willfully and knowingly,
having devised and intending to devise a scheme and artifice to
defraud, and for obtaining money and property by means of false
and   fraudulent   pretenses,    representations,   and   promises,
transmitted and caused to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, to wit, WYGOVSKY, including
through the use of interstate and foreign wires, fraudulently
misappropriated confidential information from the Employer Firm
about the Employer Firm’s securities trade orders and trading
activity, and used that information for his own profit by directly
and indirectly placing timely, profitable securities trades based
on that information in accounts controlled or directed by WYGOVSKY,
including in accounts held by his close relatives.

      (Title 18, United States Code, Sections 1343 and 2.)

          The bases for my knowledge and for the foregoing
charges are, in part, as follows:

     3.   I have been a Special Agent with the FBI for
approximately thirteen years. I am currently assigned to a squad
that is responsible for investigating violations of the federal
securities laws, as well as wire and mail fraud laws and related
offenses. I have participated in numerous investigations of these
offenses, and I have made and participated in making arrests of
numerous individuals for committing such offenses.

     4.   The information contained in this affidavit is based
upon my personal knowledge, as well as information obtained during
this investigation, directly and indirectly, from other sources,

                                    2
       Case 1:21-cr-00718-JGK Document 1 Filed 07/01/21 Page 3 of 8



including documents provided by others, and from speaking with
representatives of the United States Securities and Exchange
Commission (the “SEC”). Because this affidavit is being submitted
for a limited purpose, I have not set forth each and every fact I
have learned in connection with this investigation.         Where
conversations and events are referred to herein, they are related
in substance and in part unless otherwise noted.     Where dates,
figures, and calculations are set forth herein, they are
approximate.

                       Overview of the Scheme

     5.   At all times relevant to this Complaint, SEAN
WYGOVSKY, the defendant, resided in or around Toronto, Canada,
and was employed as a securities analyst and trader at the
Employer Firm. The Employer Firm is an asset management firm
based in Toronto, Canada with at least approximately $19 billion
in assets under management. WYGOVSKY has worked at the Employer
Firm since at least in or about 2013, and prior to that,
WYGOVSKY worked for other employers in the securities industry,
including in New York, New York.

     6.   As further described below, since at least in or about
2015, SEAN WYGOVSKY, the defendant, has engaged in a front
running scheme whereby WYGOVSKY has been committing insider
trading through the misappropriation of confidential, material,
non-public information about the securities trade orders of the
Employer Firm. WYGOVSKY misapproripated this information in
order to engage directly and indirectly in short-term personal
securities trading designed to make millions of dollars in
profits by executing trades that take advantage of relatively
small price movements in a company’s stock that follow from
large securities orders executed on behalf of the Employer Firm
(the “Front Running Scheme”). In order to hide his engagement
in the Front Running Scheme, WYGOVSKY has engaged in this
illicit personal trading in brokerage accounts held in the name
of WYGOVSKY’s close relatives.

     7.   Based on my training and experience, large asset
management firms, like the Employer Firm, require their employees
to keep information about, among other things, their securities
trade orders and executions strictly confidential and have
prohibitions and safeguards designed to prevent their employees
from using that information for any purpose outside the scope of
their     employment,    including     prohibitions     concerning
confidentiality, personal trading, and insider trading.         In
particular, according to one of the Employer Firm’s March 19, 2021
filings with the SEC, the Employer Firm represented (i) that it

                                    3
       Case 1:21-cr-00718-JGK Document 1 Filed 07/01/21 Page 4 of 8



maintains a Code of Ethics that includes, among other things,
“general requirements that [the Employer Firm’s] supervised
persons comply with their fiduciary obligations to clients and
applicable securities laws, and specific requirements relating to,
personal trading, insider trading, conflicts of interest and
confidentiality of client information;” (ii) that employees of the
Employer Firm’s must “comply with personal trading restrictions
and report their personal securities transactions and holdings to
[the Employer Firm’s] Chief Compliance Officer”; and (iii) that,
subject to certain exceptions, the Employer Firms’ employees are
prohibited from certain trading activity, including, among other
things, “[t]hey generally may not invest in the same securities
that [the Employer Firm] purchases, sells or is considering for
the Funds.”

                        The Fraudulent Scheme

                 The Illicit Front Running Trading

     8.   As part of my investigation, I have reviewed trading
records as well as an analysis of trading records conducted by the
SEC (the “Trading Analysis”).    The Trading Analysis focuses on
five brokerage accounts (the “Subject Accounts”) maintained by
three close relatives of SEAN WYGOVSKY, the defendant (“Relative-
1,” “Relative-2,” and “Relative-3”). In particular, one of the
Subject Accounts was maintained by Relative-1.       At all times
relevant to this Complaint, Relative-1 lived in or around
Louisberg, North Carolina. The other four Subject Accounts were
maintained by Relative-2 and Relative-3, who are married to each
other. At all times relevant to this Complaint, Relative-2 and
Relative-3 lived in or around Clifton, Virginia. For at least one
of the Subject Accounts maintained by Relative-2 and Relative-3,
WYGOVSKY is listed as beneficiary of the account in the event of
the death of the accountholder.

     9.    Based on my review of the trading records and the Trading
Analysis, I have learned that since at least in or about 2015, the
Subject Accounts have generated millions of dollars in profits and
that a substantial portion of those profits are attributable to
the Front Running Scheme.       In particular, I have observed a
repeated pattern of short-term intraday trading in the Subject
Accounts as follows: (i) one of the Subject Account buys (or short
sells 1) shares in a public company; (ii) minutes later, the


1 Short selling is a method of trading designed to benefit from
the decrease in the price of a stock whereby a trader borrows
                                    4
       Case 1:21-cr-00718-JGK Document 1 Filed 07/01/21 Page 5 of 8



Employer Firm begins executing purchases (or sales) of shares in
that same company in quantities that are far larger than the amount
of shares bought (or short sold) by the Subject Account.       This
trading by the Employer Firm leads to a slight, temporary movement
in the price of the relevant company’s stock during the window
that the Employer Firm is executing its trades (the “Window”);
namely, the stock price will tend to rise slightly if the Employer
Firm is buying (consistent with the increased demand hitting the
market), and the stock price will tend to drop slightly if the
Employer Firm is selling (consistent with the increased supply
hitting the market); (iii) during the Window, the relevant Subject
Account then liquidates its position by selling (or buying to cover
the short) shares in the company at the temporary inflated (or
deflated) price created by the pressure of the Employer Firm’s
executions.

             a.   By way of example, on or about September 10,
2019, one of the Subject Accounts purchased approximately 30,000
shares of stock in a public company called Now Inc. (“DNOW”), whose
stock trades on the New York Stock Exchange, between approximately
10:33 and 10:45 am. Then, beginning at approximately 10:55 am,
the Employer Firm began executing an order to buy approximately
173,000 shares of DNOW.    That order was executed over the next
approximately five hours on September 10, 2019, and, during that
time, caused DNOW’s share price to increase slightly. While those
purchases by the Employer were being executed, the Subject Account
that had purchased 30,000 shares of NDOW sold all 30,000 shares at
approximately 11:38 am for approximately $4,500 in profits.

             b.   By way of further example, on or about March 19,
2020, one of the Subject Accounts short sold approximately 25,000
shares of stock in a public company called Merit Medical Systems,
Inc. (“MMSI”), whose stock trades on the NASDAQ, between
approximately 10:52 and 11:03 am. Then, beginning at approximately
11:12 am, the Employer Firm began executing an order to sell
approximately 131,591 shares of MMSI.     That order was executed
over the next approximately four hours on March 19, 2020, and,
during that time, caused MMSI’s share price to decrease slightly.
While those sales by the Employer Firm were being executed, the
Subject Account that had short sold 25,000 shares of MMSI purchased
25,000 shares (i.e., enough to cover its short position) at
approximately 12:12 pm for approximately $27,450 in profits.




shares to sell in the market while agreeing to subsequently
purchase shares to repay or “cover” the loan.
                                    5
       Case 1:21-cr-00718-JGK Document 1 Filed 07/01/21 Page 6 of 8



             c.    The Trading Analysis is ongoing, but to date,
has revealed over 700 specific instances of trading in this pattern
since in or about 2015, yielding a total of over $3.6 million in
trading profits. 2

     10. As part of my investigation, I have also reviewed records
from brokerage firms that were involved in executing trades on
behalf of the Employer Firm. Brokerage records from at least one
of these brokerage firms based in New York, New York (the “Broker”)
included the log-in information and IP address of the Employer
Firm trader who was conducting the trading on behalf of the
Employer Firm. In particular, records from the Broker include the
log-in “swygovsky” for a substantial number of trades by the
Employer Firm in 2019 and 2020, including many instances where
“swygovsky” was the only trader from the Employer Firm logged into
the Broker’s trading system.     These log-ins include dozens of
instances where the time of the Employer Firm trading by
“swygovsky” coincides with examples of the Front Running Scheme
trading in the Subject Accounts described above.

             a.   By way of example, on or about November 10, 2020,
between approximately 9:56 and 10:04 a.m., one of the Subject
Accounts bought approximately 40,000 shares of Carparts.Com Inc
(“PRTS”) for an average price of approximately $9.70 per share.
Then between approximatey 10:05 and 10:26 a.m., the Employer Firm
purchased approximately 210,844 shares in PRTS for an average
purchase price of $9.77 per share.         On November 10, 2020,
“swygovsky” was the only trader from the Employer Firm logged into
the Broker’s trading system and made various trade orders
throughout the morning.    Between approximately 10:12 and 11:19
a.m., the Subject Account that had purchased the PRTS shares that
morning, sold those shares at an average price of $9.81 per share.
This trading in PRTS by the relevant Subject Account resulted in
at least approximately $4,300 in profits.

     11. Based on my review of the trading records and the Trading
Analysis, including IP logs that show the location of the account
user, I have learned that SEAN WYGOVSKY, the defendant, engaged in
a substantial portion of the personal trading in the Subject
Accounts as part of the Front Running Scheme. For example, from
in or about January 2015 through in or about February 2018, most
of the trading comprising the Front Running Scheme was conducted

2 The Subject Accounts also include other profitable trading
activity, including some activity that does not involve same day
purchases and sales of securities, and some trading activity
that does not overlap with trading by the Employer Firm.
                                    6
       Case 1:21-cr-00718-JGK Document 1 Filed 07/01/21 Page 7 of 8



in one of the Subject Accounts belonging to Relative-2 and
Relative-3 (“Account-1”). During that time, some of the log-ins
to Account-1 and to the trading systemn of the Broker, which was
executing trades on behalf of the Employer Firm, were conducted
from the same Canadian IP address. Furthermore, despite the fact
that Relative-2 and Relative-3 lived in Virginia, the overwhelming
majority of the log-ins to Account-1 during the period were from
Canada, where WYGOVSKY lives. Moreover, some of the IP addresses
used to log into Account-1 were also used for log ins to a personal
brokerage account belonging to WYGOVSKY. 3 In addition, IP address
log-ins also show that the majority of the relevant trading in the
Subject Account belonging to Relative-1 (“Account-2”), which was
concentrated in and around 2020, was also conducted from locations
in Canada.

             a.   At times, the IP log-ins from the Subject
Accounts show that the location of the relevant trading also
occurred in other places that coincide with locations where
WYGOVSKY was travelling. For example, travel records show that
between in or about June and August of 2020, WYGOVSKY travelled to
a Caribbean island (the “Caribbean Island”). Trading records show
that the relevant trading in Account-2 during that period was
conducted from the vicinity of the Caribbean Island. Similarly,
travel records show that WYGOVSKY traveled to Nantucket,
Massachusetts in or about August of 2020. Trading records show
that the relevant trading in Account-2 during that period was
conducted from Nantucket.

                  Financial Transfers back to WYGOVSKY

     12. Based on my review of financial records, I have also
learned that Relative-2 and Relative-3 sent money to SEAN WYGOVSKY,
the defendant, and his family, including proceeds of the Front
Running Scheme, during the operation of the Front Running Scheme.
In particular, Relative-2 and Relative-3 maintain at least one
bank account at HSBC (the “Bank Account”). At all times relevant
to this Complaint, the Bank Account was funded almost entirely by
funds from the Subject Accounts, including millions of dollars in
deposits from profits of the trading activity described above.
From my review of the Bank Account, I have learned that between
approximately 2015 and 2020, Relative-2 and Relative-3 have moved
at least approximately $2.8 million from the Bank Account to

3 Beginning in the Fall of 2018, the majority of the relevant
trading in Account-1 as well as other Subject Accounts was
conducted from IP addresses associated with the United States,
often with locations in or around Virginia.
                                    7
       Case 1:21-cr-00718-JGK Document 1 Filed 07/01/21 Page 8 of 8



another account they control. Relative-2 and Relative-3 then wrote
checks from this second account to WYGOVSKY and other family
members of his totalling at least approximately $660,000.
Similarly, in or about December 2020, Relative-2 and Relative-3
sent approximately $22,000 to a bank account controlled by WYGOVSKY
as a “gift.” I have also learned that between in or about November
2017 and January 2018, Relative-2 and Relative-3 transferred
approximately $224,000 to a Slovenian bank.             Information
associated with the transfers show that they were sent to
individuals with a specific last name (the same last name as
WYGOVSKY’s wife), and that they were denoted as a “gift.”

     WHEREFORE, I respectfully request that an arrest warrant be
issued for SEAN WYGOVSKY, the defendant, and that he be arrested
and imprisoned or bailed, as the case may be.



                      s/Thomas McDonald, by the Court, with permission
                               _____________________________
                               THOMAS McDONALD
                               SPECIAL AGENT
                               FEDERAL BUREAU OF INVESTIGATION

Sworn to me through the transmission
of this Complaint by reliable electronic means
pursuant to Federal Rule of Criminal Procedure 4.1,
this 1st day of July, 2021


______________________________
HONORABLE DEBRA FREEMAN
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




                                    8
